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Transcript of Louisiana House
           Chamber
                      Date: June 17, 2022
                   Case: Transcription Services




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                                                                       6                TRANSCRIPT OF VIDEO-RECORDED
                                                                       7                        TESTIMONY OF THE
                                                                       8                      LOUISIANA HOUSE CHAMBER
                                                                       9                          REDISTRICTING
                                                                       10                         JUNE 17, 2022
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                                                                       20   Job No.: 453585
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                                                                       1                       P R O C E E D I N G S
                                                                       2              REP. MAGEE:     [Inaudible]. Quorum call members.
                                                                       3    Members, you through voting? 98 members in a quorum.
                                                                       4    The house will be open with prayer by Representative
                                                                       5    Harris.
                                                                       6              REP. HARRIS:      Thank you, Mr. Speaker pro tem.
                                                                       7    You want me to lend you some hair after that haircut?
                                                                       8    I'm telling you, looks good. Look, many of y'all
                                                                       9    remember the story where Jesus fed the multitude with
                                                                       10   five loaves of bread and two fishes.
                                                                       11             And part of that story that we don't focus on
                                                                       12   sometimes is what he said to his disciples after
                                                                       13   everybody got through eating, and I'm going to read you
                                                                       14   the verse. He said, when they had all had enough, he
                                                                       15   said to his disciples, gather up now the fragments, the
                                                                       16   broken pieces and that which are left over so that
                                                                       17   nothing maybe lost or wasted.
                                                                       18             That was our Lord saying that. And we need to
                                                                       19   apply that to where we are today in this body and what
                                                                       20   happens this week and as we go forward with our work.
                                                                       21   This will all work out for the better if we have the
                                                                       22   right attitude and we ask God's help.


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                                                                       1              We will not lose anything and it won't go to
                                                                       2    waste because we can use this to better this body, to
                                                                       3    better ourselves as legislators, and to better
                                                                       4    ourselves as a -- a state. No matter how it turns out.
                                                                       5    So let us pray. Lord, thank you for today. Thank you
                                                                       6    for assembling this body.
                                                                       7              And you knew this body would be assembled
                                                                       8    before time even started, and you knew where we are and
                                                                       9    you're in control of everything, and I thank you for
                                                                       10   that. Lord, I thank you for each individual in this
                                                                       11   house.
                                                                       12             I thank you for their mind, I thank you for
                                                                       13   their integrity, and I thank you for their hard work
                                                                       14   for the people of Louisiana. Lord bless us as we go
                                                                       15   through this process. Let it be for your glory and your
                                                                       16   glory only. In your precious name we pray. Amen.
                                                                       17             REP. MAGEE:     Representative Bourriaque will
                                                                       18   lead us in the pledge.
                                                                       19             REP. BOURRIAQUE:       I pledge allegiance to the
                                                                       20   flag --
                                                                       21             HOUSE:   Of the United States of America and to
                                                                       22   the Republic of which it stands. One nation, under God,


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                                                                       1    indivisible, with Liberty and justice for all.
                                                                       2            REP. MAGEE:      Members, Representative Harris is
                                                                       3    going to give me the name of his wig guy so I can get
                                                                       4    fitted for a proper wig after this is over with.
                                                                       5    Representative Stefanski. Representative Jenkins.
                                                                       6            REP. JENKINS:       Thank you, Mr. Speaker. We
                                                                       7    received news shortly ago that our city marshal, some
                                                                       8    of whom I think you have met, city marshal Charlie
                                                                       9    Caldwell, out of the city of Shreveport, was involved
                                                                       10   in a boating accident. He's presumed to be deceased. We
                                                                       11   can only hope for the best.
                                                                       12           But under the circumstances we thought it
                                                                       13   would be appropriate to just take a moment of silence.
                                                                       14   I appreciate the members of the delegation from
                                                                       15   Shreveport Bossier [inaudible] that are standing here.
                                                                       16   Charlie's great man, had just a pleasant personality,
                                                                       17   was elected several times citywide and always extended
                                                                       18   a helping hand to everybody that he met.
                                                                       19           Please keep Charlie and his family, city of
                                                                       20   Shreveport, the Marshal's office in the city of
                                                                       21   Shreveport, law enforcement in the city of Shreveport,
                                                                       22   in your prayers. Mr. Speaker pro tem, we ask for a


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                                                                       1    moment of silence.
                                                                       2            REP. MAGEE:       Let's join Representative Jenkins
                                                                       3    in a moment of silence.
                                                                       4            REP. JENKINS:        Thank you.
                                                                       5            REP. MAGEE:       Members, we're going to stand at
                                                                       6    ease for a few minutes. All right. Before that we're
                                                                       7    going to go to morning order number four.
                                                                       8            FEMALE 1:      Wednesday, June 15th, 2022, the
                                                                       9    House of Representatives was called to order by the
                                                                       10   honorable Clay Schexnayder, speaker of the House of
                                                                       11   Representatives. The role being called, the following
                                                                       12   members --
                                                                       13           REP. MAGEE:       [Inaudible] defense can move to
                                                                       14   dispense the journal [inaudible]. And now members are
                                                                       15   going to stand at ease for a few minutes.
                                                                       16           MALE 5:     Mandie, what do you think's going on?
                                                                       17           MS. LANDRY:       What?
                                                                       18           MALE 5:     What do you think is going on?
                                                                       19   Cortez, the speaker, Ward and Duplessis.
                                                                       20           MS. LANDRY:       Well, Royce, isn't up there with
                                                                       21   them. You saw what happened --
                                                                       22           MALE 5:     I thought he was.


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                                                                       1            MS. LANDRY:       -- with Rick's -- he's down
                                                                       2    there. You saw what happened. He's trying to do the
                                                                       3    motion. You saw what happened with Rick's map.
                                                                       4            MALE 5:     No.
                                                                       5            MS. LANDRY:       So Rick board's map got out. They
                                                                       6    -- they sent it --
                                                                       7            MALE 5:     Oh, it [inaudible] out.
                                                                       8            MS. LANDRY:       They sent it to the Senate floor
                                                                       9    but with no -- no favorability or anything, just sent
                                                                       10   it, but his map has two majority morning and they're
                                                                       11   like [inaudible].
                                                                       12           REP. MAGEE:       Personal privilege,
                                                                       13   Representative Stefanski.
                                                                       14           REP. STEFANSKI:        Hey members, if I can -- if I
                                                                       15   can get your attention. This is -- this is on a somber
                                                                       16   note. Yesterday as -- as some of you may have noticed,
                                                                       17   there was a -- there was a church shooting in
                                                                       18   Birmingha- --Birmingham, Alabama, and that particular
                                                                       19   shooting as well as being a horrific tragedy affected
                                                                       20   somebody that's close to a lot of us.
                                                                       21           Many of you know Lionel Rainey. He's -- he's
                                                                       22   been a friend of mine for a long time. And


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                                                                       1    unfortunately his uncle, Walter Bartlett Rainey, was
                                                                       2    the -- one of the individuals that died yesterday in
                                                                       3    the church shooting. He was Lionel's father's brother.
                                                                       4    He was a veteran and -- and as -- as I'm told, one of
                                                                       5    the kindest people you will meet.
                                                                       6              His wife, Linda, was actually by his side at -
                                                                       7    - at the time he was shot and -- and believe it or not,
                                                                       8    they were attending a -- a potluck supper at the church
                                                                       9    when -- when the -- when the shooter came in. He is
                                                                       10   survived by two daughters and -- and hundred --
                                                                       11   hundreds of people that love him.
                                                                       12             So if you would join me, please remember, and
                                                                       13   pray for Lionel over these next, you know, coming days,
                                                                       14   weeks and -- and years. And if we could, Mr. Speaker,
                                                                       15   please have a moment of silence for his uncle, Walter
                                                                       16   Rainey.
                                                                       17             REP. MAGEE:     Right. Members, a moment of
                                                                       18   silence. Personal privilege, Representative Newell.
                                                                       19             MS. NEWELL:     I'm so glad to have y'all
                                                                       20   attention. Thank you very much, Mr. Speaker and
                                                                       21   members. No, we are not trying to pose a coup or
                                                                       22   anything. We came up here to recognize a holiday in


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                                                                        1    this state and in this great nation.
                                                                        2            In the 2021 regular session of the Louisiana
                                                                        3    legislature our dear friend representative, Larry
                                                                        4    Selders, along with the entire legislative black caucus
                                                                        5    authored House bill 554, which recognized Juneteenth
                                                                        6    Day as a legal holiday.
                                                                        7            Juneteenth is a national freedom day, which
                                                                        8    celebrates the date of June 19th, 1865, where Major
                                                                        9    General Gordon Granger led the union soldiers into
                                                                        10   Galveston, Texas, bringing the news that the civil war
                                                                        11   had ended and that the emancipation proclamation
                                                                        12   declared all those enslaved people to be free.
                                                                        13           And Juneteenth is the day of learning,
                                                                        14   sharing, and honoring the history, culture and
                                                                        15   achievements of African Americans across the state and
                                                                        16   the nation in areas, including education, medicine,
                                                                        17   art, culture, public service, economic development,
                                                                        18   politics, sports, civil, and human rights.
                                                                        19           And today this is the day that we recognize in
                                                                        20   this great state of Louisiana. As I said in my
                                                                        21   testimony today, I don't know if the judge knew what
                                                                        22   she was doing and if it was just the divine


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                                                                        1    intervention of our God and savior that allowed us to
                                                                        2    be here this week during the week of Juneteenth.
                                                                        3            During the -- the day that we are recognizing
                                                                        4    Juneteenth, that we are again talking about and
                                                                        5    discussing the need for a second congressional district
                                                                        6    for minority, that's a minority majority congressional
                                                                        7    district. I don't know if that was in his divine plan,
                                                                        8    but I believe it was.           And I hope we all take the
                                                                        9    time to think about that and to think about what this
                                                                        10   holiday represents for the African Americans in our
                                                                        11   state, and what it represents as the history to the
                                                                        12   state of Louisiana. And hopefully we can change the
                                                                        13   path and the trajectory of this state, starting today,
                                                                        14   and let this be the Juneteenth for all of us. Thank you
                                                                        15   very much, Mr. Speaker and members.
                                                                        16           REP. MAGEE:      Representative [inaudible]
                                                                        17   personal privilege.
                                                                        18           FEMALE 4:     Thank you, Mr. Speaker. Members,
                                                                        19   please join me in wishing a happy, happy birthday to
                                                                        20   Representative Edmond Jordan. You're going to sing
                                                                        21   happy birthday? Yay. Happy birthday --
                                                                        22           HOUSE:    To you. Happy birthday to you. Happy


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                                                                        1    birthday dear Edmond. Happy birthday to you.
                                                                        2            FEMALE 4:     Thank you.
                                                                        3            REP. MAGEE:      Representative Duplessis, for
                                                                        4    motion. Morning [inaudible].
                                                                        5            REP. DUPLESSIS:        Thank you, Mr. Speaker
                                                                        6            REP. MAGEE:      One second, Rep Duplessis. One
                                                                        7    second. All right. Representative Jordan for motion. I
                                                                        8    -- I was going to sing happy birthday again. Thank you.
                                                                        9    Representative Duplessis for motion.
                                                                        10           REP. DUPLESSIS:        Thank you, Mr. Speaker. I
                                                                        11   move that the committee on house and governmental and -
                                                                        12   - house and governmental affairs be directed to report
                                                                        13   House Bill 1 on today, June 17th.
                                                                        14           REP. MAGEE:      All right. Representative
                                                                        15   Stefanski on your objection.
                                                                        16           REP. STEFANSKI:        Yep. Members, we -- we
                                                                        17   debated the bill at length today. I think over -- over
                                                                        18   four hours. The committee made its decision and -- and
                                                                        19   as -- as chairman I'd asked you to respect the
                                                                        20   committee's decision. So I object.
                                                                        21           REP. MAGEE:      All right.
                                                                        22           REP. DUPLESSIS:        Thank you, Mr. Speaker. Yes,


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                                                                        1    it's true. Y'all saw we debated the bill quite
                                                                        2    extensively, but given that debate I think it would be
                                                                        3    great for this whole body to have an opportunity to
                                                                        4    debate it. So with that, I want to thank the chairman
                                                                        5    for he did run a great committee this morning, and I
                                                                        6    thank him for that, but I would like for the full body
                                                                        7    to have an opportunity to -- to debate that bill. So I
                                                                        8    would ask that we move on that motion.
                                                                        9            REP. MAGEE:       Right. Representative Duplessis
                                                                        10   makes a motion which Representative Stefanski objected
                                                                        11   to. All those in favor of the motion vote yay, those
                                                                        12   opposed to the motion vote nay. The clerk will open
                                                                        13   machines, members vote your machine.
                                                                        14           Vote your machines, members. [Inaudible].
                                                                        15   Still voting, members? You're still voting? All right.
                                                                        16   Close them up. 32 yays, 61 nays, and the motion fails
                                                                        17   to pass. All right. Representative Stefanski, personal
                                                                        18   privilege.
                                                                        19           REP. STEFANSKI:         Members, I, and originally in
                                                                        20   committee was talking about having a committee meeting
                                                                        21   tomorrow to debate the two bills that are still in
                                                                        22   committee. Due to the Senate still having an instrument


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                                                                        1    in play it -- it doesn't make much sense when you work
                                                                        2    the timeline.
                                                                        3            And so I'm going to ask this -- the speaker
                                                                        4    and I conferred and we are not going to have a
                                                                        5    committee meeting tomorrow. But I -- I believe the
                                                                        6    speaker will have further instructions about what the
                                                                        7    house is going to do should we be here to -- should
                                                                        8    there be an instrument for us to receive. So HMGA will
                                                                        9    not meet unless we need to for a Senate bill should
                                                                        10   that -- should that occur down the line in the next few
                                                                        11   days?
                                                                        12           REP. MAGEE:        All right. Representative
                                                                        13   Jenkins, you want personal privilege? All right. He
                                                                        14   does not. Representative Carter.
                                                                        15           REP. CARTER:         Yes. What if -- when, if
                                                                        16   something comes out of the Senate, when would we refer
                                                                        17   it over, tomorrow or Sunday? What --
                                                                        18           REP. MAGEE:        It would -- it would come over
                                                                        19   tomorrow.
                                                                        20           REP. CARTER:         All right.
                                                                        21           REP. MAGEE:        Thank you. All right. Personal
                                                                        22   privilege, Representative Glover. Oh, he's gone. Okay.


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                                                                        1    Personal privilege, Representative Illg.
                                                                        2            REP. ILLG:      Thank you, Mr. Speaker, members.
                                                                        3    My message is on a little more jovial note. We have --
                                                                        4    the video has been sent to your laptop from the Hoopla,
                                                                        5    and if you want to see the best tackle in the game,
                                                                        6    Kyle Green about the 20 minute mark was pretty
                                                                        7    entertaining on Dr. Tate. So check your lap -- your
                                                                        8    chamber laptop. So you've got -- received an email
                                                                        9    about Hoopla, the hoopla video.
                                                                        10           REP. MAGEE:      Right.
                                                                        11           REP. ILLG:      So watch that this weekend.
                                                                        12           REP. MAGEE:      Representative Bagley, you need a
                                                                        13   personal privilege?
                                                                        14           REP. BAGLEY:       Just want a -- a question.
                                                                        15           REP. MAGEE:      Yes, sir.
                                                                        16           REP. BAGLEY:       Since we may or may not get a
                                                                        17   bill from the Senate, if we do not, what else can we do
                                                                        18   since Monday's the last day anyway, I mean, is there a
                                                                        19   plan here that --
                                                                        20           REP. MAGEE:      We'll work on that tomorrow when
                                                                        21   we see what the Senate does.
                                                                        22           REP. BAGLEY:       So we will meet tomorrow?


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                                                                        1            REP. MAGEE:      Yes.
                                                                        2            REP. BAGLEY:       Thank you.
                                                                        3            REP. MAGEE:      All right. All right.
                                                                        4    Representative Thompson for a motion.
                                                                        5            REP. THOMPSON:       Mr. Speaker and members, I
                                                                        6    move we adjourn to in the morning at 11:00.
                                                                        7            REP. MAGEE:      Without objection.
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